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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


DANA MARIE BERNHARDT et al.,

               Plaintiffs,

       v.                                         Civil Action No. 18-2739 (TJK)

ISLAMIC REPUBLIC OF IRAN,

               Defendant.


                                             ORDER

       For the reasons stated in the Court’s accompanying Memorandum Opinion, it is hereby

ORDERED that Plaintiffs’ Motion for Default Judgment, ECF No. 47, is GRANTED. It is fur-

ther ORDERED that final judgment is granted in Plaintiffs’ favor and against Defendant. In ad-

dition, it is ORDERED that Plaintiffs shall receive $67,138,421 in compensatory damages and

$201,415,263 in punitive damages, divided in the following amounts:

      Plaintiff          Compensatory Damages        Punitive Damages      Total Damages
  Estate of Jeremy
                               $3,677,674              $11,033,022           $14,710,696
        Wise
   Estate of Dane
                               $2,835,747               $8,507,241           $11,342,988
       Paresi
     Dana Marie
                               $10,000,000             $30,000,000           $40,000,000
      Bernhardt
   Ethan Prusinski             $6,250,000              $18,750,000           $25,000,000
   Mary Lee Wise               $6,250,000              $18,750,000           $25,000,000
 Mary Heather Wise             $3,125,000               $9,375,000           $12,500,000
  Mindylou Paresi              $10,000,000             $30,000,000           $40,000,000
     Alexandra
                               $6,250,000              $18,750,000           $25,000,000
    VandenBroek
  Elizabeth Santina
                               $6,250,000              $18,750,000           $25,000,000
       Paresi
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    Janet Paresi              $6,250,000                 $18,750,000             $25,000,000
    Terry Paresi              $3,125,000                  $9,375,000             $12,500,000
  Santina Cartisser           $3,125,000                  $9,375,000             $12,500,000


      This is a final, appealable order. The Clerk of Court is directed to close the case.

      SO ORDERED.



                                                            /s/ Timothy J. Kelly
                                                            TIMOTHY J. KELLY
                                                            United States District Judge

Date: March 22, 2023




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